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9                      UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA
10

11   NAHID SEDAGHATFAR,                                  ) Case No.
12   individually, and on behalf of all                  )
     others similarly situated,                          )  2:20-cv-11729-SB-RAO
13
     Plaintiff,                                          )
14   v.                                                  )
     IDT DOMESTIC TELECOM, INC., and                     ) NOTICE OF SETTLEMENT
15
     DOES 1 through 10, inclusive,                       ) AS TO INDIVIDUAL CLAIMS
16   Defendant.                                          ) ONLY
17                                                       )
                                                         )
18
                                                         )
19
           NOW COMES THE PLAINTIFF by and through their attorney to
20
     respectfully notify this Honorable Court that this case has settled individually as
21
     to all named Defendants. Plaintiff requests that this Honorable Court vacate all
22
     pending hearing dates and allow sixty (60) days with which to file dispositive
23

24
     documentation. This Court shall retain jurisdiction over this matter until fully

25
     resolved.

26   Dated: April 16, 2021            Law Offices of Todd M. Friedman, P.C.
27
                                                              By: s/ Todd M. Friedman
28
                                                                    Todd M. Friedman



                                       Notice of Settlement
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1
                               CERTIFICATE OF SERVICE
2

3     Filed electronically on April 16, 2021, with:
4
      United States District Court CM/ECF system
5

6
      Notification sent electronically on April 16, 2021, to:

7     To the Honorable Court, all parties and their Counsel of Record
8

9
      s/Todd M. Friedman
10     Todd M. Friedman
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                                         Notice of Settlement
